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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 FREDERICK O. SILVER,                                    Case No.: 2:19-cv-00032-APG-BNW

 4          Plaintiff                                     Order Extending Time to File Third
                                                                 Amended Complaint
 5 v.
                                                                      [ECF No. 153]
 6 DISTRICT ATTORNEY STEVEN B.
   WOLFSON, et al.,
 7
        Defendants
 8

 9          On June 4, 2020, I gave plaintiff Frederick Silver 33 days to file a third amended

10 complaint. ECF No. 145. Since then, I granted Mr. Silver two extensions of the filing deadline.

11 ECF Nos. 150, 152. Mr. Silver now seeks a third extension, this time requesting an additional

12 120 days. ECF No. 153. Mr. Silver does not explain why he needs this extension, nor does he

13 explain why such a lengthy extension is needed this time. Out of an abundance of caution, I will

14 grant an extension, but not as lengthy as requested.

15         I HEREBY ORDER that the plaintiff’s motion for extension (ECF No. 153) is granted

16 in part. Plaintiff Silver shall file a third amended complaint by January 8, 2021. No further

17 extensions will be granted absent extraordinary circumstances. If Mr. Silver fails to file the third

18 amended complaint by January 8, 2021, this case will be dismissed without further notice.

19         DATED this 2nd day of November, 2020.

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                                                          ANDREW P. GORDON
21                                                        UNITED STATES DISTRICT JUDGE

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